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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA


 KATHRYN MCDANIEL,

                              Plaintiff,
 v.
                                                           Case No. CIV-20-1278-R
 LEGEND ENERGY SERVICES, LLC,

                              Defendant.


            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Kathryn McDaniel

(“Plaintiff”), and Defendant, Legend Energy Services, LLC (“Defendant”) (together, the

“Parties”), by and through their attorneys of record, hereby notify the Court that they have

resolved this matter and stipulate to the dismissal with prejudice of all claims and causes

of action brought in this case by Plaintiff and against Defendant. The Parties further

stipulate and agree that each Party shall each bear its or his own attorneys’ fees and costs.

       Dated: May 9, 2022.
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Respectfully submitted,



/s/ Mary Rahimi_________________      /s/Anh Kim Tran
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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2022, I electronically transmitted the foregoing

document to the Clerk of Court using the ECF system for filing. I further certify that a true

and correct copy of the foregoing was sent via ECF System to all parties and/or their

counsel of record.


                                          /s/ Mary Rahimi
                                          Mary Rahimi




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